                                                            EXHIBIT 2
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Samples of Trooper George Michael Kanyuh’s (#1095) social
media displaying obvious homophobia, transphobia, racism
and misogyny
                                                            EXHIBIT 2
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